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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA —20/6 DEC 23. PM 3: 10

 

OCALA DIVISION
GLERK, US DISTRICT COUR:

HOLDING COMPANY OF THE AOE Cs Teg OF EL
VILLAGES, INC., “

Plaintiff, Case No.: S-J@-ew- 7 3 §- Od~ SEaPR t
Vv.
CORNERSTONE AUDIO VIDEO
INTEGRATION, LLC and DARRELL G.
LEE,

Defendants.

/
COMPLAINT

Plaintiff, Holding Company of The Villages, Inc. (“Holding Company”) files this
Complaint against Defendants Cornerstone Audio Video Integration, LLC and Darrell G. Lee.

JURISDICTION AND VENUE

 

1, This is an action for monetary, injunctive, and declaratory relief arising under the
trademark laws of the United States, including the Lanham Act, 15 U.S.C. § 1051 ef seq., the
Anticybersquatting Consumer Protection Act, 15. U.S.C. § 1125(d), the trademark and consumer
protection laws of Florida, Fla. Stat. § 495.001 et seq., and under common law.

2. The Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 and
28 U.S.C. § 1338(a) because this action arises under the laws of the United States; specifically
under the trademark laws of the United States, 15 U.S.C. § 1051 et seg. The Court can exercise
supplemental jurisdiction over the related state law claims under 28 U.S.C. § 1367(a).

3. The Court has personal jurisdiction over Defendants because they reside in
Florida.

4. Venue is proper in the Middle District of Florida under 28 U.S.C. § 1391(b)(2)

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because a substantial part of the events or omissions alleged in this complaint occurred in this
District.

5. Venue is proper in the Ocala Division under Local Rule 1.02(b)(2) and (c)
because the counties with the greatest nexus with this case are Sumter County, Lake County, and
Marion County.

PARTIES

6. Holding Company is a Florida corporation with its principal place of business at
1020 Lake Sumter Landing, The Villages, Florida 32162.

7. Holding Company, its predecessors, and its affiliated companies (jointly “The
Villages Companies”), are the developers of The Villages® community located in central Florida.

8. The Villages Companies are engaged in, among other services, the business of
real estate sales, construction, and development, and providing home repair, improvement, and
renovation services.

9. Defendant Darrell G. Lee (“Lee”) is a resident of the State of Florida.

10. Lee does business through a Florida limited liability company, Cornerstone Audio
Video Integration, LLC, with its principal place of business at 1255 La Quinta Drive, Orlando,
Florida, 32809 (“Cornerstone”).

11. Cornerstone is registered with the Florida Department of State, Division of
Corporations, under Registration Number L07000091901.

12. Defendants are engaged in the business of providing home theater and home
automation services, and corresponding installation services, for residential properties.

13. Defendants offer and promote their services in interstate commerce.

14. Defendants market their services to residents of The Villages® community.

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15. | Cornerstone has provided services to residents of The Villages® community.

16. Cornerstone has provided services to consumers in Lake, Sumter, and Marion
Counties, Florida.

HOLDING COMPANY AND ITS TRADEMARKS

17. The Villages Companies construct residential homes and commercial properties,
and provide real estate sales, leasing, property management, and brokerage services in Lake,
Sumter, and Marion Counties, Florida.

18. The services provided by The Villages Companies include home repair and home
renovation services, in addition to construction of new homes.

19. Holding Company owns the trademarks and service marks used by The Villages
Companies, all of which are affiliated entities or licensees.

20. The Villages Companies promote and sell construction services, and other
services, under the trademarks THE VILLAGES and The°Villages (the “Marks”).

21. Holding Company is the owner of the trademark rights in and to the Marks.

22. The Villages Companies have used the Marks substantially and continuously,
since at least as early as July 1992.

23. Since adopting the Marks, The Villages Companies have spent significant sums to
advertise and promote their goods and services using the Marks.

24. The Villages Companies’ marketing and promotion efforts include television,
newspaper, magazine, and outdoor advertising.

25. The Villages Companies also promote their goods and services through an

interactive website located at the domain name <thevillages.com> (“The Villages Website”).

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26. The Villages Website offers information, maps, and contact information regarding
The Villages® community and its facilities, as well as other information of interest to residents
and prospective residents alike.

27. The Marks are widely recognized by consumers as being associated with the high
quality real estate and construction services, and other goods and services, offered by The
Villages Companies.

28. The Villages Companies have achieved significant commercial success in
connection with their use of the Marks.

29. | Through The Villages Companies’ efforts, the Marks have become famous as
designators for the source of goods and services provided by The Villages Companies.

30. Through longstanding use of the Marks, The Villages Companies have acquired
valuable common law trademark rights in the Marks for a variety of goods and services.

31. In recognition of Holding Company’s exclusive rights to use the Marks in
commerce in the United States, the United States Patent and Trademark Office has issued no less
than 22 federal trademark registrations that comprise or include THE VILLAGES as of the date
of this complaint.

32. The federal trademark registrations owned by Holding Company include, without

limitation:

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THE VILLAGES 2,614,700 9/3/2002 IC 37: Residential TAN992
retirement home real

(Incontestable) estate construction and
deve
4,468,815 1/21/2014 | IC 37: Building FA992
6 construction services;
The Villages Real estate development
services in the field of
retirement communities

 

33. The declaration required by 15 U.S.C. § 1065(3) for Registration No. 2,614,700
was filed with the United States Patent and Trademark Office on March 3, 2008, and accepted on
March 20, 2008.

34. Registration No. 2,614,700 for THE VILLAGES is incontestable pursuant to
15 U.S.C. § 1065.

35. Holding Company’s predecessor in interest coined the term THE VILLAGES
when they began developing The Villages® community.

36. The term THE VILLAGES was not used in connection with the area in which The
Villages® community is located prior to the development of that community by The Villages
Companies.

37. The Marks are inherently distinctive as designators of the source of residential
retirement home real estate construction and development services, and other goods and
products, provided by The Villages Companies.

38. | To the extent it is argued that the Marks are descriptive, the Marks have acquired
distinctiveness and have achieved secondary meaning in consumers’ minds as to the source of

goods and services offered by The Villages Companies.

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39. The Villages® community is widely known throughout the United States and the
Marks are famous both in the state of Florida and throughout the U.S.

40. In addition to construction and real estate services, The Villages Companies offer
other goods and services in connection with the Marks.

41. Through widespread and favorable public acceptance and recognition, the Marks
are assets of substantial value to Holding Company as symbols of its quality services, quality
goods, and related goodwill.

42, | When consumers, including without limitation residents of The Villages®
community, see THE VILLAGES, it invokes the reputation and goodwill created by The
Villages Companies and leads consumers to believe that the goods and services being offered are
provided by, or associated with, The Villages Companies.

INFRINGEMENT BY DEFENDANTS

43. On information and belief, Lee is the owner and manager of Cornerstone Audio
Video Integration, LLC.

44, On information and belief, Cornerstone Audio Video Integration, LLC is
sometimes promoted as, and known by, the name “The Villages Home Theater.”

45. Defendants provide and promote home theater installation and home automation
services in Lake, Sumter, and Marion Counties, Florida.

46. Home theater installation and home automation are commonly performed as part
of constructing a new home or as part of a home renovation project.

47. Despite Defendants’ use of the name “The Villages Home Theater,” The Villages
Companies have never subcontracted to Defendants to perform home theater installation or home

automation services in connection with The Villages® Community or otherwise.

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48. Defendants provide and promote home theater and home automation services in
the same geographic location of, or in close geographic proximity to, The Villages® community.

49. On information and belief, Cornerstone, sometimes promoted by the name “The
Villages Home Theater,” provides and promotes home theater and home automation services to
residents of The Villages® community.

50. | Defendants own and control the domain names <the-villages-home-theater.com>
and <thevillageshometheater.com>.

51. At times prior to the filing of this complaint, Defendants operated a website at the
domain name <thevillageshometheater.com>.

52. After being contacted repeatedly by Plaintiff, Defendants moved their website the
domain name <cornerstoneavi.com>.

53. As of the date of this complaint, however, the domain names
<thevillageshometheater.com> and <the-villages-home-theater.com> each redirect to
Defendants’ website at <cornerstoneavi.com>.

54, On the website, Defendants advertise various home theater and home automation
services for residential customers, including custom installation of speakers, projectors,
televisions, and home automation equipment.

55. Previously, Defendants repeatedly referred to Cornerstone Audio Video
Integration, LLC as “The Villages Home Theater” on the website.

56. On May 5, 2016, Holding Company sent a demand letter explaining the trademark
violations alleged herein and demanding that Defendants cease and desist from all further use of
THE VILLAGES in connection with any goods or services offered by Defendants.

57. After Holding Company contacted Defendants regarding trademark concerns,

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Defendants reduced the number of “The Villages Home Theater” references on the website.

58. However, defendants maintained some references to Cornerstone as “The Villages
Home Theater.”

59. At times relevant to this Complaint, Defendants’ website included the statement:
“The Villages Home Theater and Technology Experts.”

60. On information and belief, Defendants additionally promoted Cornerstone Audio
Video Integration, LLC through social media websites, including Facebook, by using the hashtag
“#thevillageshometheater.”

61. Holding Company has never granted Defendants permission to use its trademarks
in the promotion of Defendants’ business.

62. Defendants have marketed their home theater and home automation services by
using advertisements and marketing materials that use “The Villages.”

63. Defendants have promoted their services by posting yard signs including, on
information and belief, in or around The Villages® community, that read “The Villages Home
Theater” and provide the domain name “the-villages-home-theater.com.”

64. The yard signs posted by Defendants suggest a relationship between The Villages
Home Theater and The Villages® community when no such relationship exists.

65. The signs used by Defendants do not include any disclaimer.

66. Home theater and home automation services are a type of construction service.

67. The mark “The Villages Home Theater” merely adds generic or descriptive terms
to Plaintiff's registered trademark “The Villages.”

68. Because the only differences between “The Villages Home Theater” and “The

Villages” are the generic or descriptive terms for the services being offered, there is a likelihood

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of confusion between “The Villages Home Theater” and “The Villages” in connection with
construction services.

69. Because of the similarities between “The Villages Home Theater” and the Marks,
consumers are likely to be confused regarding the source of the goods and services offered by
Defendants.

70. On information and belief, Defendants’ use of the trade name “The Villages
Home Theater” has caused actual confusion among consumers in The Villages® community.

71. Defendants’ actions are likely to cause confusion, mistake, or deception as to the
source of Defendants’ goods and services, and are likely to falsely suggest a sponsorship,
connection, license, or association between Defendants and The Villages Companies, and/or will
direct, or have directed, windfall profits to Defendants due to the confusion caused by their use
of trademarks similar to the Marks.

BAD FAITH USE OF A CONFUSINGLY
SIMILAR DOMAIN NAME BY DEFENDANTS

 

72. Defendants use a website accessible through the domain names <the-villages-
home-theater.com> and <thevillageshometheater.com> to promote their home theater and home
automation services.

73. <thevillageshometheater.com> merely adds, “home theater,” and “.com” to
“thevillages.”

74.  <the-villages-home-theater.com> merely add “home-theater”, hyphens, and
“com” to “thevillages.”

75.  <the-villages-home-theater.com> and <thevillageshometheater.com> are
confusingly similar to the Marks.

76.  <the-villages-home-theater.com> and <thevillageshometheater.com> are also

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confusingly similar to the domain name <thevillages.com> used by The Villages Companies in
connection with their own website.

77. The domain name <thevillages.com> has been used by The Villages Companies
since before 2012.

78. The Villages Companies have common law trademark rights in
“thevillages.com.”

79. On information and belief, Defendants sought to register <the-villages-home-
theater.com> and <thevillageshometheater.com> in bad faith in an effort to free ride on the fame
of The Villages® community, the Marks, and <thevillages.com>, and to misappropriate the
goodwill associated with the Marks.

80. As an additional act of bad faith, Lee communicated to the undersigned counsel
an offer to the domain name <the-villages-home-theater.com> in exchange for an “asking price”
of $250,000.

81. Ina futile effort to conceal his infringing activities, Lee has attempted to prevent
the undersigned counsel from accessing his website by blocking the IP address of the
undersigned law firm and Holding Company.

82. Defendants continue to use the infringing domain name in connection with a
website that promotes their home theater and home automation services.

83. Defendants’ home theater and home automation business is a commercial

enterprise.

DEFENDANTS ACTED WILLFULLY AND INTENTIONALLY

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84. Defendants are not affiliated with The Villages Companies.

85. Defendants are not licensed by The Villages Companies.

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86. Defendants are not endorsed by The Villages Companies.

87. Defendants are aware of The Villages® community.

88. Defendants were aware of The Villages® community prior to referring to
themselves as “The Villages Home Theater.”

89. The Marks were famous prior to the date Defendants began referring to
themselves as “The Villages Home Theater’ and adopting the domain names
<thevillageshometheater.com> and <the-villages-home-theater.com>.

90. | On information and belief, Defendants selected “The Villages Home Theater,” at
least in part, in an effort to evoke thoughts of The Villages® community in the minds of actual
and prospective customers.

91. Prior to filing this complaint, Holding Company demanded that Defendants cease
infringement of the Marks. |

92. Despite Plaintiff s demand, Defendants continue to use “The Villages,” “The
Villages Home Theater,” <thevillageshometheater.com>, and <the-villages-home-theater.com>.

93. On information and belief, Defendants have entered into agreements that cause
links to their website to appear when internet users search for “home theater” in connection with
“The Villages.”

94. Defendants’ selection and use of “The Villages,” “The Villages Home Theater,”
<thevillageshometheater.com> and <the-villages-home-theater.com> were, and continue to be,
intentional.

95. Defendants’ actions were, and continue to be, willful.

96. At least because Defendants continue to use infringing marks and trade names

despite knowledge of actual confusion, and intentionally market to residents of The Villages”

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community using infringing marks and trade names, and attempting to hide their activities by
blocking Plaintiffs’ and its counsel’s IP addresses, Defendants’ acts make this an exceptional
case.

DAMAGES CAUSED BY DEFENDANTS

 

97. Defendants’ conduct has caused and, unless permanently enjoined, will continue
to cause, irreparable injury to Holding Company in the form of lost goodwill, diminished
reputation, and increased costs.

98. On information and belief, Defendants have led customers to believe that they
were affiliated with, or endorsed by, The Villages Companies in connection with providing
services under “The Villages Home Theater.”

99, Defendants’ conduct has diluted and, unless permanently enjoined, will continue
to dilute, the distinctive quality of the Marks.

100, The threatened continued injury to Holding Company outweighs whatever
damage the proposed injunction may cause Defendants, because Defendants have no legitimate
interest in the continued use of trade names, domain names, and marks confusingly similar to
Holding Company’s marks.

101. The public interest will be furthered by the granting of a permanent injunction
because trademark laws were designed to prevent consumer confusion.

102. Holding Company has retained the law firm of Carlton Fields Jorden Burt, P.A. to
enforce its rights in this matter, and it has agreed to pay said firm a reasonable attorneys’ fee for
their services herein.

COUNT I
TRADEMARK INFRINGEMENT - 15 U.S.C. § 1114(1)

103. Holding Company repeats and realleges the allegations set forth in Paragraphs 1

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through 102 above as if fully set forth herein.

104. Defendants have reproduced, copied, or imitated Holding Company’s federally
registered and incontestable trademark THE VILLAGES by selling, offering for sale, and
advertising its goods and services through The Villages Home Theater and using the domain
names <the-villages-home-theater.com> and <thevillageshometheater.com>.

105. Defendants have reproduced, copied, or imitated Holding Company’s federally
registered trademark ‘The9Villages by selling, offering for sale, and advertising services under The
Villages Home Theater and using the domain names <the-villages-home-theater.com> and
<thevillageshometheater.com>.

106. Defendants’ use of the Marks in connection with the sale and promotion of home
theater and home automation services is likely to cause confusion, mistake, or deception of the
public as to the origin, sponsorship, or approval of these services.

107. Defendants’ intentional and deliberate actions constitute willful infringement of
Holding Company’s federally registered trademarks, particularly considering that Defendants are
aware of the likelihood of confusion and continue to use the infringing domain names.

108. Defendants’ intentional and deliberate actions, including continuing use of its
mark to market directly to residents and potential customers in The Villages” community after
being made aware of its infringements, make this an exceptional case.

109. By reason of Defendants’ conduct, Holding Company has been damaged.

110. Defendants’ conduct has enabled them to earn profits to which they are not in
law, equity, or good conscience entitled, and which have unjustly enriched them, all to
Defendants’ profit and Holding Company’s detriment.

111. By reason of Defendants’ willfulness, Holding Company is entitled to enhanced

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damages as permitted under statute.

112. By reason of the exceptional nature of this case, Holding Company is entitled to
recover its reasonable attorneys’ fees in this matter.

113. By reason of the irrevocable harm done to Holding Company by the use of an
infringing mark, Holding Company is entitled to injunctive relief preventing further use of
VILLAGE or VILLAGES in any trademark, service mark, trade name, domain name, or social
media account used by Defendants.

114. Holding Company is entitled to a declaration declaring that Defendants’ use of
that trademark and trade name infringes Holding Company’s trademark rights.

COUNT II
FALSE DESIGNATION OF ORIGIN AND FALSE ADVERTISING — 15 U.S.C. § 1125

115. Holding Company repeats and realleges the allegations set forth in Paragraphs 1
through 102 above as if fully set forth herein.

116. Defendants’ actions in adopting trademarks, trade names and domain names that
are confusingly similar to the Marks are likely to cause confusion, mistake, or deception as to the
origin, sponsorship, or approval of Defendants’ services, including home theater and home
automation installation, and thus constitute false designation of origin in violation of 15 U.S.C. §
1125(a)(1)(A).

117. Defendants’ use of The Villages Home Theater in their advertising also
constitutes false and misleading advertising by misrepresenting the nature, characteristics, and/or
qualities of its services, in violation of 15 U.S.C. § 1125 (a)(1)(B) at least because The Villages
Home Theater is not associated with, or endorsed by, The Villages Companies.

118. By reason of Defendants’ false designation, and false, misleading advertising,

Holding Company has been damaged.

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119. Defendants’ false designation, and false, misleading advertising, have enabled
them to earn profits to which they are not in law, equity, or good conscience entitled, and which
have unjustly enriched them, all to Defendants’ profit and Holding Company’s detriment.

120. By reason of Defendants’ willful actions, Holding Company is entitled to
enhanced damages as permitted under statute.

121. By reason of the exceptional nature of this case, Holding Company is entitled to
recover its reasonable attorneys’ fees in this matter. .

122. By reason of the irrevocable harm done to Holding Company as a result of
Defendants’ false designation, and false, misleading advertising, Holding Company is entitled to
injunctive relief preventing further use of VILLAGES and THE VILLAGES in advertising done
by Defendants in connection with The Villages Home Theater.

COUNT III
TRADEMARK DILUTION — 15 U.S.C, § 1125(¢

123. Holding Company repeats and realleges the allegations set forth in Paragraphs 1
through 102 above as if fully set forth herein.

124. The Marks have been used, advertised, and promoted extensively by The Villages
Companies since at least as early as 1992 in connection with construction services for residential
homes for retirees and a variety of other goods and services.

125. THE VILLAGES is famous and well known throughout Florida and the United
States.

126. Defendants provide services other than home construction services through The
Villages Home Theater.

127. Home theater installation and home automation installation is commonly done as

part of new home construction.

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128. Defendants’ use of The Villages Home Theater in connection with such other
services is likely to cause dilution to Holding Company’s famous marks, in violation of
15 U.S.C. § 1125(¢).

129. Such dilution will continue and worsen unless permanently enjoined by the Court.

130. Defendants were aware of the fame of the Marks prior to adopting their “The
Villages Home Theater.” |

131. Defendants began using their use of “The Villages Home Theater” after the Marks
became famous.

132. Defendants have used THE VILLAGES and “The Villages Home Theater” in
commerce and in advertising seen throughout Florida and the United States.

133. To the extent Defendants have used THE VILLAGES, and “The Villages Home
Theater,” for services other than “[rJesidential retirement home real estate construction,” Holding
Company has been damaged at least because such use dilutes the distinctive quality of the
Marks.

134. Defendants’ conduct has enabled them to earn profits to which they are not in
law, equity, or good conscience entitled, and which have unjustly enriched them, all to
Defendants’ profit and Holding Company’s detriment.

135. Defendants’ use of domain names, advertising, marks and trade names that dilute
the distinctive quality of the Marks was willful.

136. By reason of the irrevocable harm done to Holding Company as a result of
Defendants’ dilution of Plaintiff's famous marks, Holding Company is entitled to injunctive
relief preventing further use of VILLAGES and THE VILLAGES in advertising done by

Defendants in connection with The Villages Home Theater.

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COUNT IV
COMMON LAW TRADEMARK INFRINGEMENT AND UNFAIR COMPETITION

137. Holding Company repeats and realleges the allegations set forth in Paragraphs 1
through 102 above as if fully set forth herein.

138. Holding Company has common law rights in the Marks and in the domain name
<thevillages.com>.

139. Defendants have infringed Holding Company’s common law rights in the Marks
and the domain name <thevillages.com> by selling, offering for sale, and advertising services
under the mark “The Villages Home Theater,” using the trade name “The Villages Home
Theater,” using the domain names <thevillageshometheater.com> and <the-villages-home-
theater.com>, using hashtags and social media identifiers that incorporate Holding Company’s
marks, and purchasing advertising keywords intended to direct consumers looking for
information about The Villages Companies to instead be presented with information about
Cornerstone.

140. Defendants’ uses of VILLAGES and THE VILLAGES in promotion of
Defendants’ goods and services are likely to confuse consumers who understand VILLAGES
and THE VILLAGES to be an indication of the source of goods and services manufactured,
offered, provided, or endorsed by The Villages Companies.

141. Defendants’ conduct constitutes common law trademark infringement,
misappropriation of Holding Company’s goodwill, and unfair competition under the common
law of Florida, by reason of which Holding Company has suffered and will continue to suffer
irreparable injury.

142. Defendants unfairly profited from their infringement and misappropriation

activities.

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COUNT V
TRADEMARK DILUTION — FLA. STAT. § 495.151

143. Holding Company repeats and realleges the allegations set forth in Paragraphs 1
through 102 above as if fully set forth herein.

144. THE VILLAGES has been used, advertised, and promoted extensively by The
Villages Companies for years and is a famous mark known throughout Florida in connection
with a range of goods and services.

145. Defendants’ use of the mark “The Villages Home Theater,” the trade name “The
Villages Home Theater,” the domain names <thevillageshometheater.com> and <the-villages-
home-theater.com>, advertising keywords involving “The Villages,” and social media identifiers
involving “The Villages” occurred after the Marks became famous.

146. Defendants’ use of trademarks and trade names similar to the Plaintiff's marks is
likely to cause dilution to Holding Company’s famous marks, in violation of Fla. Stat. § 495.151,
and such dilution will continue and worsen unless enjoined by the Court.

147. By reason of Defendants’ dilution, Holding Company has been damaged.

148. Defendants’ conduct has been willful and has enabled them to earn profits to
which they are not in law, equity, or good conscience entitled, and which have unjustly enriched
them, all to Defendants’ profit and Holding Company’s detriment.

COUNT VI
VIOLATION OF ANTICYBERSQUATTING CONSUMER PROTECTION ACT

— 15 U.S.C. § 1125(d)

149. Holding Company repeats and realleges the allegations set forth in Paragraphs 1
through 102 above as if fully set forth herein.
150. The Marks are famous, at least in the field of construction services.

151. The Marks are federally registered and protected trademarks of Holding

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Company.

152. As affiliated companies and licensees of Holding Company, The Villages
Companies own the domain name <thevillages.com> and other “villages” domain names that
they use in connection with the provision and promotion of a variety of goods and services,
including construction services.

153. Defendants use the domain names <thevillageshometheater.ccom> and <the-
villages-home-theater.com> in connection with the operation of Cornerstone Audio Video
Integration, LLC, which is sometimes advertised under the name “The Villages Home Theater.”

154, <the-villages-home-theatercom> and <thevillageshometheater.com> are
confusingly similar to the Marks and the domain name <thevillages.com>.

155. On information and belief, Defendants caused the domain names <the-villages-
home-theater.com> and <thevillageshometheater.com> to be registered with prior knowledge of
The Villages® community and the Marks, and did so with a bad faith intent to profit from the
Marks.

156. On information and belief, Defendants sought to register <the-villages-home-
theater.com> and <thevillageshometheater.com> in bad faith in an effort to free ride on the
reputation and fame of The Villages® community, the Marks, and <thevillages.com>, to
misappropriate the goodwill associated with the Marks, and to divert consumers from
<thevillages.com>.

157. As an additional act of bad faith, Lee communicated to the undersigned counsel
an offer to discontinue his use of the domain name <the-villages-home-theater.com> in exchange
for an “asking price” of $250,000.

158. In an effort to conceal Defendants’ infringing activities, Lee has attempted to

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prevent the undersigned counsel from accessing his website by blocking the IP address of the
undersigned law firm.

159. Defendants’ use of <the-villages-home-theater.com> and
<thevillageshometheater.com> constitutes cybersquatting in violation of the Anticybersquatting
Consumer Protection Act, 15 U.S.C. § 1125(d).

160. Defendants’ conduct has enabled it to earn profits to which it is not in law, equity,
or good conscience entitled, and which have unjustly enriched it.

161. Holding Company has been damaged by Defendants’ use of <the-villages-home-
theater.com> and <thevillageshometheater.com>, and such damage will continue unless enjoined
by this Court.

WHEREFORE, Holding Company requests the Court grant the following relief:

(a) Entry of an Order awarding permanent injunctive relief to enjoin all infringing use by
Defendants of the Marks and marks confusingly similar thereto, including but not
limited to their use of THE VILLAGES, OtheVillages, The Villages Home Theater,
and the domain names <the-villages-home-theater.com> and
<thevillageshometheater.com>;

(b) A declaration declaring that Defendants’ actions infringed the rights of Holding
Company and diluted the distinctive quality of the Marks;

(c) Entry of an Order directing the destruction of Defendants’ advertising and
promotional materials and signage bearing VILLAGES or THE VILLAGES;

(d) Entry of an Order requiring Defendants to provide an accounting of profits, sales, and
contracts made, or to be made, arising from its infringing use, dilution, unfair

competition, and other wrongful acts;

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(e) All remedies permitted by 15 U.S.C. §§ 1117, 1125 including, but not limited to,
recovery of Defendants’ profits, Holding Company’s damages (as may be trebled),
and Holding Company’s reasonable attorneys’ fees and costs;

(f) All remedies permitted by Fla. Stat. § 495.151, including, but not limited to, recovery
of Defendants’ profits, Holding Company’s damages (as may be trebled), Holding
Company’s reasonable attorneys’ fees, and the costs of this action;

(g) All remedies permitted by Florida common law including, but not limited to, a
declaration of Defendants’ infringing use, recovery of Defendants’ profits, Holding
Company’s damages, an injunction preventing further infringements, and Holding
Company’s reasonable attorneys’ fees, and the costs of this action,

(h) Entry of an Order awarding permanent injunctive relief to enjoin all infringing use by
Defendants of the domain name <the-villages-home-theater.com> and any other
confusingly similar domain names, advertising keywords, or social media identifiers;

(i) Entry of an Order directing the transfer of the domain names <the-villages-home-
theater.com> and <thevillageshometheater.com> to Holding Company;

(j) Entry of an Order requiring Defendants to provide an accounting of profits, sales, and
contracts made, or to be made, arising from their infringing use of the domain names
<the-villages-home-theater.com> and <thevillageshometheater.com> and recovery
thereof by Holding Company, together with Holding Company’s reasonable
attorneys’ fees and costs;

(k) A trial by jury on all issues so triable; and

(1) Such further relief as the Court deems just and proper.

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Dated December 22, 2016

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Respectfully submitted:

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